           Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 1 of 22




     FISH & RICHARDSON P.C.
 1

 2   Katherine D. Prescott (CA SBN 215496)
     prescott@fr.com
 3   FISH & RICHARDSON P.C.
     500 Arguello Street, Suite 400
 4   Redwood City, CA 94063
     Telephone: (650) 839-5070
 5   Facsimile: (650) 839-5071
 6
     Neil J. McNabnay (pro hac vice to be filed)
 7   Ricardo J. Bonilla (pro hac vice to be filed)
     Noel F. Chakkalakal (pro hac vice to be filed)
 8   Philip G. Brown (pro hac vice to be filed)
     FISH & RICHARDSON P.C.
 9
     1717 Main Street, Suite 5000
10   Dallas, TX 75201
     Telephone: (214) 747-5070
11   Facsimile: (214) 747-2091
     mcnabnay@fr.com
12   rbonilla@fr.com
     chakkalakal@fr.com
13
     pgbrown@fr.com
14
     ATTORNEYS FOR DEFENDANT
15   SKYSLOPE, INC.
16

17                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
18
                                                      C.A. No. 2:23-cv-01586-KJN
19   DIGITAL VERIFICATION SYSTEMS, LLC,
                                                      NOTICE OF MOTION AND
20
                  Plaintiff,                          MOTION TO DISMISS
21
           v.                                         Hearing Date: October 10, 2023
22                                                    Time: 9:00 a.m.
     SKYSLOPE, INC.,                                  Judge: Kendall Newman
23
                  Defendant.
24

25                             SKYSLOPE’S MOTION TO DISMISS

26                                                         Defendant’s Motion to Dismiss
27

28
            Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 2 of 22




 1          TO ALL PARTIES AND THEIR ATTORNEY OF RECORD:

 2          PLEASE TAKE NOTICE that on October 10, 2023, at 9:00 a.m. or as soon thereafter as

 3   the matter may be heard by the Court, Defendant will, and hereby does, bring this Rule 12(b)(6)

 4   Motion to Dismiss on the following grounds:

 5          1. The asserted U.S. Pat. No. 9,054,860 is patent-ineligible under 35 U.S.C. § 101.

 6          Accordingly, Defendant moves this Court to dismiss Plaintiff’s Complaint without leave

 7   to amend. The Motion is based on this Notice, the accompanying Brief in Support, the pleadings,

 8   papers, and records on file in this action, and on all such further oral or documentary evidence or

 9   argument as may be presented at the hearing on the Motion.

10

11   Dated: August 30, 2023                           Respectfully submitted,

12                                                    FISH & RICHARDSON P.C.

13                                                    By: /s/ Katherine D. Prescott
                                                          Katherine D. Prescott
14

15
                                                      ATTORNEYS FOR DEFENDANT
16                                                    SKYSLOPE, INC.

17

18

19

20

21

22

23

24

25

26                                                    i                 Defendant’s Motion to Dismiss
27

28
     Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 3 of 22




                                           TABLE OF CONTENTS
 1

 2      I.          STAGE AND NATURE OF PROCEEDINGS............................................... 1

 3      II.         SUMMARY OF THE ARGUMENT .............................................................. 1
 4
        III.        STATEMENT OF THE ISSUE ...................................................................... 2
 5

 6      IV.         STATEMENT OF THE FACTS ..................................................................... 2

 7      V.          LEGAL STANDARD ..................................................................................... 4
 8
              A. This Case Should Be Disposed of at the Pleading Stage Through
 9               Rule 12(b)(6). ..................................................................................................... 4
10
              B. The Law of 35 U.S.C. § 101............................................................................... 5
11

12
        VI.         ARGUMENT .................................................................................................. 5
13
              A. The Independent Claims of the ’860 Patent Are Patent-Ineligible
14               Under § 101. ....................................................................................................... 6
15

16       1. Alice Step 1: The independent claims are directed to the abstract idea of
            incorporating information in a file to verify a document..................................... 6
17

18       2. Alice Step 2: The independent claims do not contain an inventive concept
            sufficient to confer patent eligibility. ................................................................. 11
19

20            B. The dependent claims of the ’860 Patent are not patent eligible...................... 12
21
              C. There are no claim construction or factual disputes preventing the Court from
22               ruling on this issue at the Rule 12 stage. .......................................................... 14
23

24      VII.        CONCLUSION ............................................................................................. 16

25

26                                                            ii                        Defendant’s Motion to Dismiss
27

28
               Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 4 of 22




                                                    TABLE OF AUTHORITIES
 1
                                                                                                                                    Page(s)
 2

 3   Cases

 4   Alice Corp. Pty. Ltd. v. CLS Bank Int’l,
         573 U.S. 208 (2014) ......................................................................................................... passim
 5
     Ancora Techs. v. HTC Am., Inc.,
 6      908 F.3d 1343 (Fed. Cir. 2018)................................................................................................13
 7   Appistry, Inc. v. Amazon.com, Inc.,
 8      195 F. Supp. 3d 1176 (W.D. Wash., 2016) aff’d sub nom. Appistry, LLC v.
        Amazon.com, Inc., 676 F. App’x 1008 (Fed. Cir. 2017) ..........................................................17
 9
     Ashcroft v. Iqbal,
10      556 U.S. 662 (2009) ...................................................................................................................7

11   Bancorp Servs. L.L.C. v. Sun Life Assur. Co.,
        687 F.3d 1266 (Fed. Cir. 2012)..................................................................................................8
12
     Berkheimer v. HP Inc.,
13
        881 F.3d 1360 (Fed. Cir. 2018)..........................................................................................16, 17
14
     Bilski v. Kappos,
15       561 U.S. 593 (2010) .........................................................................................................8, 9, 16

16   BSG Tech LLC v. Buyseasons, Inc.,
        899 F.3d 1281 (Fed. Cir. 2018)................................................................................................11
17
     buySAFE, Inc. v. Google, Inc.,
18      765 F.3d 1350 (Fed. Cir. 2014)................................................................................................15
19
     Clear with Computers, LLC v. Dick’s Sporting Goods, Inc.,
20      21 F. Supp. 3d 758 (E.D. Tex. 2014) .......................................................................................16

21   Content Extraction and Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n,
        776 F.3d 1343 (Fed. Cir. 2014)............................................................................................9, 15
22
     Cousins v. Lockyer,
23      568 F.3d 1063 (9th Cir. 2009) ...................................................................................................7
24
     Diamond v. Chakrabarty,
25      447 U.S. 303 (1980) ...................................................................................................................8

26                                                                  iii                            Defendant’s Motion to Dismiss
27

28
              Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 5 of 22




     Elec. Power Grp., LLC v. Alstom S.A.,
 1      830 F.3d 1350 (Fed. Cir. 2016)..........................................................................................13, 15
 2
     Epic IP LLC v. Backblaze, Inc.,
 3      351 F. Supp. 3d 733 (D. Del. 2018) .........................................................................................11

 4   Ericsson Inc. v. TCL Commc’n Tech. Holdings Ltd.,
         955 F.3d 1317 (Fed. Cir. 2020)................................................................................................14
 5
     Finjan, Inc. v. Blue Coat System, Inc.,
 6      879 F.3d 1299 (Fed. Cir. 2018)................................................................................................11
 7
     First-Class Monitoring, LLC v. Ups of Am., Inc.,
 8       389 F. Supp. 3d 456 (E.D. Tex. 2019) .....................................................................................17

 9   Fleming v. Pickard,
        581 F.3d 922 (9th Cir. 2009) .....................................................................................................7
10
     Mendiondo v. Centinela Hosp. Med. Ctr.,
11     521 F.3d 1097 (9th Cir. 2008) ...................................................................................................7
12   Morales v. Square, Inc.,
13     75 F. Supp. 3d. 716 (W.D. Tex. 2014), aff’d, 621 F. App’x 660 (Fed. Cir.
       2015), cert. denied, 136 S. Ct. 1461 (2016)...............................................................................9
14
     Phoenix Licensing, L.L.C. v. Consumer Cellular, Inc.,
15      2:16-cv-152-JRG-RSP, 2017 WL 1065938 (E.D. Tex. Mar. 8, 2017) ......................................9
16   SAP Am., Inc. v. InvestPic, LLC,
        898 F.3d 1161 (Fed. Cir. 2018)................................................................................................11
17
     Secured Mail Sols. LLC v. Universal Wilde, Inc.,
18
        873 F.3d 905 (Fed. Cir. 2017)..................................................................................................14
19
     Simio LLC v FlexSim Software Prod., Inc.,
20      983 F.3d 1353 (Fed. Cir. 2020)............................................................................................7, 18

21   In re TLI Commc’ns LLC Patent Litigation,
         823 F.3d 607 (Fed. Cir. 2016)..................................................................................................14
22
     Ultramercial, Inc. v. Hulu, LLC,
23
         772 F.3d 709 (Fed. Cir. 2014) (Mayer, J., concurring)..............................................................8
24
     Universal Secure Registry LLC v. Apple, Inc.,
25      10 F.4th 1342 (Fed. Cir. 2021) ......................................................................................5, 11, 12

26                                                               iv                            Defendant’s Motion to Dismiss
27

28
               Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 6 of 22




     Statutes
 1
     35 U.S.C. § 101 ..................................................................................................................5, 8, 9, 17
 2

 3   Other Authorities

 4   Federal Rules of Civil Procedure Rule 12(b)(6) ......................................................5, 7, 9, 16,17 18

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17
18

19

20

21

22

23

24

25

26                                                                   v                              Defendant’s Motion to Dismiss
27

28
            Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 7 of 22




 1   I.     STAGE AND NATURE OF PROCEEDINGS

 2          On August 1, 2023, Plaintiff Digital Verification Systems, LLC (“DVS”) filed this lawsuit

 3   accusing SkySlope, Inc. of infringing U.S. Patent No. 9,054,860. DVS accuses SkySlope of

 4   infringing at least Claim 1 of the ’860 Patent via its DigiSign Platform, which features an electronic

 5   signing capability. Compl. ¶ 33.

 6   II.    SUMMARY OF THE ARGUMENT

 7          The idea of incorporating information into a file to authenticate a document is an abstract

 8   concept ineligible for patent protection. This concept predates computers and digital document and

 9   has been widely used on physical documents such as by affixing a seal or using a notary public.

10   The ’860 Patent’s claims are directed to this abstract concept and do not claim any inventive

11   concept sufficient to confer patent eligibility on the claimed abstract idea.

12          As the ’860 Patent itself explains, signing documents “to identify the provenance of the

13   document and/or otherwise associate the document with the perspective entity” was well known

14   and conventional. ’860 Patent at 1:12-19. The ’860 Patent recites exactly that activity as carried

15   out digitally, or more specifically, “a digital verified identification system structured to facilitate

16   authenticating and/or verifying the identity of an electronic signatory and/or verifying the identity

17   of an electronic signatory to file and/or otherwise structured to associate an electronic file with one

18   or more entities.” ’860 Patent at 1:37-41. In other words, it is a system that digitalizes the

19   conventional practice of verifying a signatory to a document.

20          Additionally, the ’860 Patent fails to teach the recited system with any specificity. For

21   example, it concedes that “the digital identification module(s) of . . . the present system may

22   include virtually any file, item, object, or device structured to be embedded or otherwise disposed

23   within an electronic file or document,” and “the verification data elements of . . . the present system

24   include any information or data.” ’860 Patent at 3:29-35, 3:55-59 (emphasis added).

25

26                                                     1                  Defendant’s Motion to Dismiss
27

28
            Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 8 of 22




 1          Thus, the ’860 Patent’s applicant did not claim an unconventional system to solve the

 2   problem he identified. Nor did he claim a particular mechanism for improving computing systems.

 3   As the Federal Circuit has held, claims are directed to an abstract idea “where the claims simply

 4   recited conventional actions in a generic way [and do] not purport to improve any underlying

 5   technology.” Universal Secure Registry LLC v. Apple, Inc., 10 F.4th 1342, 1347 (Fed. Cir. 2021)

 6   (“USR”) (citing Solutran, Inv. V. Elavon, Inc., 931 F.3d 1161, 1168 (Fed. Cir. 2019)). The ’860

 7   Patent claims an abstract concept, not a specific implementation of that concept. Its claims are

 8   therefore invalid for failure to claim patent-eligible subject matter.

 9          Resolving this issue does not require discovery or formal claim construction. To avoid

10   waste of judicial and party resources unnecessarily litigating an invalid patent, SkySlope thus

11   requests that the Court dismiss the Complaint pursuant to Rule 12(b)(6) of the Federal Rules of

12   Civil Procedure for failure to state a claim upon which relief can be granted.

13   III.   STATEMENT OF THE ISSUE

14          Abstract ideas are ineligible for patentability under 35 U.S.C. § 101, absent an inventive

15   concept that amounts to significantly more than the abstract idea. The claims of the ’860 Patent

16   are directed to the abstract idea of incorporating information that associates a document to an entity

17   to verify or authenticate the document. The ’860 Patent does not include an inventive concept
18   beyond that idea. Should the Court therefore dismiss DVS’s claims pursuant to Rule 12(b)(6)?

19   IV.    STATEMENT OF THE FACTS

20          The ’860 Patent is entitled “Digital Verified Identification System and Method.” It relates

21   to “a digital verified identification system and method . . . for verifying and/or authenticating the

22   identification of an entity associated with an electronic file.” ’840 Patent at Abstract. First, a

23   “module generating assembly” receives “at least one verification data element” and uses it to

24   generate a “digital identification module.” Id. This “digital identification module” is “structured

25   to be associated with at least one entity” and is also “capable of being disposed or embedded within

26                                                 2                      Defendant’s Motion to Dismiss
27

28
            Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 9 of 22




 1   at least one electronic file.” Id. The specification of the ’860 Patent admits that the recited method

 2   is a digitalization of conventional practices for authenticating documents, such as physically

 3   signing “hard copies of papers or documents . . . with a paper or other writing utensil, by one or

 4   more entities to identify the provenance of the document and/or otherwise associate the document

 5   with the respective entity,” or having a “notary public or other witness” to verify or authenticate

 6   the identity of the signatory of the document. Id. at 1:13-22.

 7           The ’860 Patent’s specification lacks specificity and does not disclose any specialized

 8   components or hardware. Instead, the specification discloses generalized descriptions of software

 9   components and the use of known file formats. For example, “the verification data elements may

10   include any indicia or data,” “the digital identification module . . . may include virtually any file,

11   item, object, or device structured to be embedded or otherwise disposed within an electronic file

12   or document . . . including . . . Joint Photographic Experts Group (“JPEG”) file, bitmap or pixmap

13   file, Portable Network Graphics (“PNG”) file, [or] Graphics Interchange Format (“GIF”) file,”

14   “[t]he computer application may include . . . any program structured to create or otherwise

15   manipulate an electronic file,” “the computer application may include virtually any interactive file

16   handling program and/or word processing program.” ’860 Patent at 2:6-9, 3:31-40, 4:66-5:1, 5:1-

17   5:2 (emphasis added).
18           The ’860 Patent’s purported advantages include “provid[ing] a system having one or more

19   digital identification module structured to be embedded or otherwise disposed within at least one

20   electronic file or document,” and “the digital identification module [being] created or otherwise

21   generated by a module generating assembly utilizing at least one verification data element

22   corresponding to the one or more entities, such as . . . a signatory of the electronic file.” Id. at 1:41-

23   49. But the ’860 Patent fails to teach with specificity how the modules are generated from the

24   module generating assembly, or how the modules are embedded “or otherwise disposed” in a file,

25   or how the “verification data element” is used by the module generating assembly.

26                                                   3                      Defendant’s Motion to Dismiss
27

28
           Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 10 of 22




 1          Consequently, the alleged invention claimed in the ’860 Patent amounts to nothing more

 2   than using off-the-shelf components to incorporate information relating to an entity in an electronic

 3   file to verify a document, and it does not limit how to achieve this claimed end result.

 4   V.     LEGAL STANDARD

 5          A.      This Case Should Be Disposed of at the Pleading Stage Through Rule 12(b)(6).

 6          Under Rule 12(b)(6), a party may move to dismiss a complaint that fails to state a claim

 7   upon which relief can be granted. “Dismissal under Rule 12(b)(6) is appropriate only where the

 8   complaint lacks a cognizable legal theory or sufficient facts to support a cognizable legal theory.”

 9   Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008). “While a complaint

10   ‘need not contain detailed factual allegations’ to survive a Rule 12(b)(6) motion, ‘it must plead

11   enough facts to state a claim to relief that is plausible on its face.’” Cousins v. Lockyer, 568 F.3d

12   1063, 1067–68 (9th Cir. 2009). Although factual allegations are taken as true, legal conclusions

13   are given no deference—those matters are left for the court to decide. See Ashcroft v. Iqbal, 556

14   U.S. 662, 678 (2009) (noting tenet that allegations are taken as true on a motion to dismiss “is

15   inapplicable to legal conclusions”). Here, the court must accept “all factual allegations in the

16   complaint as true and construe them in light most favorable to the non-moving party.” Fleming v.

17   Pickard, 581 F.3d 922, 925 (9th Cir. 2009). Conclusory statements are disregarded for purposes
18   of evaluating a complaint under Rule 12(b)(6). Simio LLC v FlexSim Software Prod., Inc., 983

19   F.3d 1353, 1365 (Fed. Cir. 2020).

20          Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos, 561 U.S.

21   593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the pleadings stage if it is

22   apparent from the face of the patent that the asserted claims are not directed to eligible subject

23   matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 718-19 (Fed. Cir. 2014) (Mayer, J.,

24   concurring). In those situations, claim construction is not required to conduct a § 101 analysis.

25   Bancorp Servs. L.L.C. v. Sun Life Assur. Co., 687 F.3d 1266, 1273 (Fed. Cir. 2012) (“[W]e

26                                                4                      Defendant’s Motion to Dismiss
27

28
           Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 11 of 22




 1   perceive no flaw in the notion that claim construction is not an inviolable prerequisite to a validity

 2   determination under § 101.”).

 3          B.      The Law of 35 U.S.C. § 101.

 4          Section 101 of the Patent Act sets forth four categories of patentable subject matter: “any

 5   new and useful process, machine, manufacture, or composition of matter.” 35 U.S.C. § 101. Also,

 6   the law recognizes three exceptions to patent eligibility: “laws of nature, physical phenomena, and

 7   abstract ideas.” Diamond v. Chakrabarty, 447 U.S. 303, 309 (1980) (emphasis added). Abstract

 8   ideas are ineligible for patent protection because a monopoly over these ideas would preempt their

 9   use in all fields. See Bilski, 561 U.S. at 611-12. In other words, “abstract intellectual concepts are

10   not patentable, as they are the basic tools of scientific and technological work.” Id. at 653.

11          Determining whether a patent claim is impermissibly directed to an abstract idea involves

12   two steps. First, the court determines “whether the claims at issue are directed to a patent-ineligible

13   concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 573 U.S. 208, 217 (2014). Second, if the claim

14   contains an abstract idea, the court evaluates whether there is “an ‘inventive concept’—i.e., an

15   element or combination of elements that is sufficient to ensure that the patent in practice amounts

16   to significantly more than a patent upon the ineligible concept itself.” Id.

17   VI.    ARGUMENT
18          DVS’s allegations regarding the ’860 Patent should be dismissed. The claims of the ’860

19   Patent are invalid under 35 U.S.C. § 101 because they fail both steps of the Alice test. Each of the

20   claims is directed to the abstract idea of incorporating information relating to an entity in a file to

21   verify a document. Further, none of the claims contains an “‘inventive concept’ . . . sufficient to

22   ensure that the patent in practice amounts to significantly more than a patent upon the ineligible

23   concept itself.” See Alice, 134 S. Ct. at 2355 (emphasis added). Because DVS has failed to state a

24   claim upon which relief may be granted, SkySlope respectfully requests that the Court grant its

25   motion and dismiss this case with prejudice. FED. R. CIV. P. 12(b)(6).

26                                                 5                      Defendant’s Motion to Dismiss
27

28
           Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 12 of 22




 1          A.      The Independent Claims of the ’860 Patent Are Patent-Ineligible Under § 101.

 2          In determining patent eligibility under § 101, the Court must first determine whether the

 3   claims are directed to an abstract idea. Alice, 573 U.S. at 217. After this determination, the Court

 4   must evaluate if there is an inventive concept that amounts to “significantly more than a patent

 5   upon the ineligible concept itself.” Id. Under any plausible reading, the claims of the ’860 Patent

 6   are directed to an unpatentable, abstract idea because they claim nothing more than the

 7   “longstanding,” “routine,” and “conventional” concept of incorporating information relating to an

 8   entity in a file to verify a document. See Alice, 134 S. Ct. at 2356-59; Bilski, 561 U.S. at 611.

 9                  1.      Alice Step 1: The independent claims are directed to the abstract idea of

10                          incorporating information in a file to verify a document.

11          Claim 1 of the ’860 Patent is representative of the claims.1 See, e.g., Phoenix Licensing,

12   L.L.C. v. Consumer Cellular, Inc., 2:16-cv-152-JRG-RSP, 2017 WL 1065938, at *8-9 (E.D. Tex.

13   Mar. 8, 2017) (invalidating 974 claims after analyzing only a few “representative claims” where

14   the other claims were “substantially similar” and “linked to the same abstract idea.”). In assessing

15   whether this claim is directed to an abstract idea, the Court must look past the claim language for

16   the purpose of the claim to determine what the invention is trying to achieve. Morales v. Square,

17   Inc., 75 F. Supp. 3d. 716, 725 (W.D. Tex. 2014), aff’d, 621 F. App’x 660 (Fed. Cir. 2015), cert.
18   denied, 136 S. Ct. 1461 (2016). All Claim 1 of the ’860 Patent explains is incorporating

19   information relating to an entity in a file to verify a document:

20

21

22   1
       Where claims are “substantially similar and linked to the same abstract idea,” courts may look to
23   representative claims in a § 101 analysis. Content Extraction and Transmission LLC v. Wells
     Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1348 (Fed. Cir. 2014). The other independent claims of
24   the ’860 Patent are substantially similar and do not introduce any variations that would change the
     analysis because they all contain the same essential elements. For example, Claim 23 merely
25   specifies a primary component as a “digital signature.” ’860 Patent at Cl. 23. Further, Claims 26
     and 39 are substantially similar method claims. Id. at Cl. 26, 39.
26                                                 6                     Defendant’s Motion to Dismiss
27

28
           Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 13 of 22




 1
                               Claim Language                                        Claimed Idea
 2
      1. A digital verified identification system, comprising
 3
      at least one digital identification module structured to be             a generic module that
 4    associated with at least one entity,                                    associates with an entity
 5
      a module generating assembly structured to receive at least one         an assembly that receives
 6    verification data element corresponding to the at least one entity      information and creates the
 7    and create said at least one digital identification module,             module

 8    said at least one digital identification module being disposable        the module is integrated in
      within at least one electronic file, and                                an electronic file
 9
      said at least one digital identification module comprising at least     module can be associated
10    one primary component structured to at least partially associate        with the entity or entities
      said digital identification module with said at least one entity,
11
      wherein
12
      said at least one digital identification module is cooperatively        the module is integrated in
13    structured to be embedded within only a single electronic file.         only one electronic file

14           As seen above, the claim quickly reduces to the bare idea of integrating information
15   associated with one entity in an electronic file. Much like the long-standing practice of hiring a
16   notary public to confirm the identity of a signatory, this is an abstract idea ineligible for patenting.
17   Indeed, when a notary verifies a document, the notary attaches materials to the document or file
18   such that later recipients have evidence of the authentic and verified signature. The claim follows
19   this same process, just in a digital form. This practice predates computers and digital documents
20   and has evolved over the decades and even centuries. For example, long before digital documents
21   and even the modern notary system, an official document may have received a wax seal as a way
22   to verify the authenticity. In much the same way as the present claim, this was a process of
23   integrating information associated with an entity into (or on) a document to verify the document.
24   As demonstrated above, Claim 1 merely applies this process to electronic files or documents.
25

26                                                  7                       Defendant’s Motion to Dismiss
27

28
           Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 14 of 22




 1          The abstract idea inquiry begins by analyzing the “focus” of the claim, i.e., its “character

 2   as a whole,” in order to determine whether the claim is directed to an abstract idea. SAP Am., Inc.

 3   v. InvestPic, LLC, 898 F.3d 1161, 1167 (Fed. Cir. 2018). For example, the Federal Circuit has

 4   explained that this Court should examine the patent’s “‘claimed advance’ to determine whether

 5   the claims are directed to an abstract idea.” Finjan, Inc. v. Blue Coat System, Inc., 879 F.3d 1299,

 6   1303 (Fed. Cir. 2018). “In cases involving software innovations, this inquiry often turns on

 7   whether the claims focus on ‘the specific asserted improvement in computer capabilities . . . or,

 8   instead, on a process that qualifies as an ‘abstract idea’ for which computers are invoked merely

 9   as a tool.’” Id. (quoting Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1335-36 (Fed. Cir. 2016));

10   see BSG Tech LLC v. Buyseasons, Inc., 899 F.3d 1281, 1285-86 (Fed. Cir. 2018).

11          In the current case, Claim 1 is not directed to any specific means or method for improving

12   technology—it is directed to the abstract idea of incorporating information relating to an entity

13   into a file as a way to verify the document. This was not a new idea, but rather, only a way of

14   implementing a widely used abstract idea. The applicant identified that “there is a current need in

15   the art for a digital verified identification system structured to facilitate authenticating and/or

16   verifying the identity of an electronic signatory to a file and/or otherwise structured to associate

17   an electronic file with one or more entities.” ’860 Patent at 1:37-41. But creating a “digital
18   identification module” that is associated with an entity, then embedding the module in a file, is a

19   concept, not an invention, and it is thus ineligible for patent protection. Epic IP LLC v. Backblaze,

20   Inc., 351 F. Supp. 3d 733, 740 (D. Del. 2018) (“The problem, however, is that the idea of a chat

21   session separate from the original website is not an invention; it is a concept. The asserted claims

22   of the [asserted] patent recite the concept, but not the way to implement it.”).

23          Claim 1 is comparable to the patent that the Federal Circuit upheld as ineligible in USR. 10

24   F.4th at 1353. In USR, U.S. Patent No. 9,100,826 (the “’826 Patent”), entitled “Method and

25   Apparatus for Secure Access Payment and Identification,” disclosed “a system for authenticating

26                                                 8                     Defendant’s Motion to Dismiss
27

28
           Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 15 of 22




 1   identities of users, including a first handheld device configured to transmit authentication

 2   information and a second handheld device configured to receive the authentication information.”

 3   Id. The specification of the ’826 Patent taught an authenticating method that uses two devices: the

 4   first device, upon receiving verification information from the user, transmits a first wireless signal

 5   containing authentication information to the second device. Id. at 1353-54. The second device may

 6   then authenticate the first user by decrypting the authentication information and verifying the

 7   identity of the first user. Id. at 1354. The Federal Circuit held that the claims of the ’826 Patent

 8   were directed to an abstract idea—the idea of “an electronic ID device … to (1) authenticate the

 9   user based on two factors [] and (2) generate encrypted authentication information to send to the

10   secure registry through a point-of-sale device.” Id. at 1354. The Federal Circuit further explained

11   that the claims were directed to an abstract idea because “the claims do not include sufficient

12   specificity.” Id. The ’826 Patent’s specification conceded that the information used for

13   verification—like the conventional and generic “verification data element” in the ’860 Patent in

14   the current case—was conventional. Id.; see ’860 Patent at 3:55-59. The Federal Circuit concluded

15   that the ’826 Patent’s claims “broadly recite generic steps and results,” and it was thus abstract

16   under Alice Step 1. Id. at 1355. The claims of the ’860 Patent disclose even less than the invalidated

17   patent in USR. They are directed to a very similar abstract idea, and unlike the latter, the claims
18   of the ’860 Patent do not even disclose how the “information . . . associated with at least one entity”

19   is utilized by the system for authentication or verification purposes.

20          In addition, the Federal Circuit has repeatedly held that in cases involving authentication

21   technology, “patent eligibility often turns on whether the claims provide sufficient specificity to

22   constitute an improvement to computer functionality itself.” USR, 10 F.4th at 1347 (citing Secured

23   Mail Sols. LLC v. Universal Wilde, Inc., 873 F.3d 905, 907, 910-11 (Fed. Cir. 2017); Electronic

24   Communication Technologies, LLC v. ShoppersChoice.com LLC, 958 F.3d 1178, 1181 (Fed. Cir.

25   2020), Solutran, 931 F.3d at 1163, 1167, Prism Techs. v. T-Mobile USA, Inc., 696 F. App’x 1014,

26                                                 9                      Defendant’s Motion to Dismiss
27

28
           Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 16 of 22




 1   1016 (Fed. Cir. 2017).) Claim 1 is directed to an abstract end-result of each part of the system and

 2   lacks any of the specificity that the Federal Circuit requires to confer patent eligibility. In fact,

 3   Claim 1 only mentions its purported goal—“verification”—once in its preamble. Thus, Claim 1

 4   lacks specificity to the extent that it does not even disclose the end-result of the system, or how

 5   the digital identification module or its incorporation into a file facilitates any steps of the

 6   verification, identification, or authentication process.

 7          Neither does Claim 1 require a new or unconventional machine or process for “generating”

 8   the digital identification module, “associating” the module with any identity, or “disposing” the

 9   module within any file. “Inquiry therefore must turn to any requirements for how the desired result

10   is achieved.” Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1355 (Fed. Cir. 2016). But

11   Claim 1 does not describe how the desired result—verifying identity—is achieved. The mechanism

12   to implement the idea is impermissibly unbounded in scope.

13          Further, Claim 1 of the ’860 Patent differs from the claims that the Federal Circuit has held

14   to be eligible because they claimed specific means for improving specific computer technology or

15   solving specific computer problems. For example, the Federal Circuit addressed the eligibility of

16   claims directed to improving computer security in Ancora Techs. v. HTC Am., Inc., 908 F.3d 1343

17   (Fed. Cir. 2018). In that case, the Federal Circuit held the claims eligible and stated, “Improving
18   security—here, against a computer’s unauthorized use of a program—can be a non-abstract

19   computer-functionality improvement . . . done by a specific technique that departs from earlier

20   approaches to solve a specific computer problem.” Id. at 1348 (emphasis added). The court was

21   persuaded because “[t]he claimed method . . . specifically identifies how that functionality

22   improvement is effectuated in an assertedly unexpected way.” Id. The same is not true of Claim 1

23   of the ’860 Patent. It does not require a specific and unconventional technique, and it does not

24   identify any specific improvement to computer functionality, much less an unexpected way of

25   effectuating such an improvement.

26                                                 10                    Defendant’s Motion to Dismiss
27

28
            Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 17 of 22




 1           Further, while the claims of the ’860 Patent may use technical jargon, that does not mean

 2   it teaches a technical solution. See Ericsson Inc. v. TCL Commc’n Tech. Holdings Ltd., 955 F.3d

 3   1317, 1326 (Fed. Cir. 2020) (“Although written in technical jargon, a close analysis of the claims

 4   reveals that they require nothing more than this abstract idea.”). And even if the ’860 Patent were

 5   directed to a useful idea, a patent is still invalid for lack of subject-matter eligibility when it teaches

 6   a useful abstract idea. See Secured Mail Sols., 873 F.3d at 910 (“The fact that an [idea] can be used

 7   to make a process more efficient, however, does not necessarily render an abstract idea less

 8   abstract.”).

 9           The other independent claims of the ’860 Patent, Claims 23, 26, and 39, fare no better under

10   this analysis: they are directed to the same abstract idea. At bottom, the claimed advance of the

11   independent claims is the concept of incorporating information relating to an entity in a file to

12   verify a document. This concept is an abstract idea, not an invention, and the mere desire for the

13   concept to be accomplished efficiently, without more, does not confer eligibility. As explained

14   above, the other independent claims all contain the same essential elements. Accordingly, the

15   independent claims fail the first step of the Alice analysis.

16                   2.      Alice Step 2: The independent claims do not contain an inventive concept

17                           sufficient to confer patent eligibility.
18           The independent claims of the ’860 Patent are implemented on generic computer

19   technology and therefore do not contain an inventive concept sufficient to confer eligibility. There

20   is simply nothing “inventive” about using existing off-the-shelf components and well-known

21   protocols to assign values for identifying data streams corresponding to different versions of

22   content. As explained above, the abstract functional descriptions in the independent claims of the

23   ’860 Patent are devoid of any technical explanation as to how to implement the purported invention

24   in an inventive way. See In re TLI Commc’ns LLC Patent Litigation, 823 F.3d 607, 615 (Fed. Cir.

25   2016) (holding claims failed Alice’s step 2 where the specification limited its discussion of

26                                                   11                      Defendant’s Motion to Dismiss
27

28
           Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 18 of 22




 1   “additional functionality” of conventional components “to abstract functional descriptions devoid

 2   of technical explanation as to how to implement the invention”). Like the invalidated claims in

 3   Intellectual Ventures I LLC v. Symantec Corp., nothing in Claim 1 “contains an ‘inventive concept’

 4   sufficient to ‘transform’ the claimed abstract idea into a patent-eligible application.” 838 F.3d

 5   1307, 1316 (Fed. Cir. 2016) (internal citations omitted). Rather, the ’860 Patent, like the claims in

 6   Symantec, simply disclose “generic computers performing generic functions.” Id. at 1319.

 7          Courts have repeatedly held that the presence of generic hardware and software like the

 8   kind recited in the independent claims of the ’860 Patent does not make an otherwise abstract idea

 9   patent eligible. See, e.g., buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014)

10   (“That a computer receives and sends the information over a network—with no further

11   specification—is not even arguably inventive.”); Content Extraction, 776 F.3d at 1348 (“At most,

12   [the] claims attempt to limit the abstract idea of recognizing and storing information from hard

13   copy documents using a scanner and a computer to a particular technological environment. Such

14   a limitation has been held insufficient to save a claim in this context.”). Claim 1 does not even

15   require any specific or specialized technical components to achieve the end goal of the system.

16   Further, the ’860 Patent explains that the digital identification module(s) of the present system

17   “may include virtually any file, item, object, or device structured to be embedded or otherwise
18   disposed within an electronic file or document,” and “the verification data elements of . . . the

19   present system include any information or data.” ’860 Patent at 3:29-35, 3:55-59 (emphasis

20   added). “Nothing in the claims, understood in light of the specification, requires anything other

21   than off-the-shelf, conventional computer . . . technology.” Elec. Power Grp., 830 F.3d at 1355.

22   There is thus no limitation in the independent claims that could be considered an inventive concept

23   under step two of the Alice test.

24          B.      The dependent claims of the ’860 Patent are not patent eligible.

25

26                                                12                     Defendant’s Motion to Dismiss
27

28
           Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 19 of 22




 1          The dependent claims of the ’860 Patent add additional limitations regarding the abstract

 2   idea, but they do not include the specificity necessary to claim patent-eligible subject matter. These

 3   limitations are simply token pre- or post-solution activity that cannot confer an inventive concept.

 4   Mayo, 132 S. Ct. at 1297-98, 1300-01; Bilski, 561 U.S. at 610; see also Clear with Computers,

 5   LLC v. Dick’s Sporting Goods, Inc., 21 F. Supp. 3d 758, 763 (E.D. Tex. 2014) (noting limitations

 6   must “do more than recite pre- or post-solution activity, they [must be] central to the solution

 7   itself” to be meaningful) (quotations omitted). For example, Claim 2 includes additional

 8   limitations regarding “computer application structured to embed . . . digital identification module,”

 9   Claim 3 includes an additional limitation that the computer application includes an “interactive

10   file handling program,” Claim 4 includes an additional limitation of “interactive computer

11   network,” and Claim 5 includes an additional limitation requiring “a digital signature.” ’860 Patent

12   at cls. 2, 3, 4, 5. Similar to independent Claim 1, the dependent claims do not include anything

13   other than well-known steps and processes such that they fail to contain an inventive concept.

14   Accordingly, the dependent claims suffer from the same flaws as the independent claims, despite

15   their additional limitations, and should therefore be treated the same as the independent claims.

16          The dependent claims also do not contain any inventive concept amounting to

17   “significantly more” than the abstract idea. They do not inject any unconventional computer
18   components or techniques. As an example, again looking at Claim 2, the additional limitations just

19   require a “computer application structured to embed said at least one digital identification module

20   within the electronic file.” Id. at cl. 2. This additional limitation relies on further generic

21   components and adds nothing unconventional to the abstract idea. Accordingly, the dependent

22   claims, like the independent claims, fail both steps of the Alice test and should be found ineligible.

23

24

25

26                                                 13                     Defendant’s Motion to Dismiss
27

28
           Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 20 of 22




 1          C.      There are no claim construction or factual disputes preventing the Court from

 2                  ruling on this issue at the Rule 12 stage.

 3          The issue of the patent eligibility of the ’860 Patent is ripe for the Court’s consideration.

 4   There are no claim construction issues affecting the Alice analysis. Additionally, there are no

 5   factual disputes on this record. The ’860 Patent does not assert any unconventional mechanism of

 6   implementing the claimed idea of integrating information associated with one entity in an

 7   electronic file. As such, this case is markedly different from Berkheimer, where the Federal Circuit

 8   noted that the specification explicitly “describe[d] an inventive feature that store[d] parsed data in

 9   a purportedly unconventional manner.” Berkheimer v. HP Inc., 881 F.3d 1360, 1369 (Fed. Cir.

10   2018). The Federal Circuit then examined whether the improvements described in the specification

11   were included in the claims. For those claims where the inventive feature in the specification was

12   “captured in the claims,” the Federal Circuit found a “factual dispute regarding whether the

13   invention describe[d] well-understood, routine, and conventional activities.” Id. But where the

14   claims did not recite the purportedly inventive features described in the specification, the Federal

15   Circuit concluded that they were directed to patent ineligible subject matter under § 101. Id. Here,

16   in contrast, neither the claims nor the specification describes any unconventional components or

17   the use of generic components in some unconventional manner.
18          It should be noted, however, that “[t]he Berkheimer [] cases do not stand for the proposition

19   that a plaintiff can avoid dismissal simply by reciting in the complaint that the invention at issue

20   is novel and that the inventive concept resides in the abstract idea itself.” First-Class Monitoring,

21   LLC v. Ups of Am., Inc., 389 F. Supp. 3d 456, 471 (E.D. Tex. 2019) (emphasis added).

22   Furthermore, “[a]ny allegation about inventiveness, wholly divorced from the claims or the

23   specification, does not defeat a motion to dismiss; only plausible and specific factual allegations

24   that aspects of the claims are inventive are sufficient.” Dropbox, 815 F. App’x at 538 (internal

25   quotations omitted).

26                                                 14                     Defendant’s Motion to Dismiss
27

28
           Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 21 of 22




 1          Here, DVS’s bare and implausible allegations in the complaint cannot defeat this motion;

 2   otherwise, Rule 12 would be rendered toothless against plaintiffs who plead “magic words.”

 3   Compl. ¶¶ 15, 19. Patentee plaintiffs should not have the power to unilaterally declare that their

 4   claims are inventive. See Appistry, Inc. v. Amazon.com, Inc., 195 F. Supp. 3d 1176, 1183, n.6

 5   (W.D. Wash., 2016) aff’d sub nom. Appistry, LLC v. Amazon.com, Inc., 676 F. App’x 1008 (Fed.

 6   Cir. 2017) (“Plaintiff’s position is absurd. Requiring the Court to accept such facts or legal

 7   conclusions (even in the form of an early expert declaration) would permit any plaintiff to

 8   circumvent the § 101 inquiry on an early motion to dismiss or motion for judgment on the

 9   pleadings simply by including a few lines attesting to the novelty of the invention.”). DVS’s

10   decision to include conclusory assertions in the Complaint that the ’860 Patent is novel and patent

11   eligible betrays that it is keenly aware of the claims’ vulnerability. See Compl. ¶¶ 15-27.

12          The Court’s ineligibility analysis should disregard DVS’s bare legal conclusion about the

13   novel aspects of its asserted patents. See Simio, LLC v. FlexSim Software Products, Inc., 983 F.3d

14   1353, 1366 (Fed. Cir. 2020) (“We disregard conclusory statements when evaluating a complaint

15   under Rule 12(b)(6).”). DVS’s allegations in the Complaint state that the claims “comprise non-

16   conventional approaches that transform the inventions as claimed into substantially more than

17   mere abstract ideas” and are “novel, non-obvious, unconventional, and non-routine.” Compl. ¶¶
18   15, 19. These are not factual allegations—they are legal conclusions in which DVS attempts to

19   unilaterally declare its patents are directed to eligible subject matter, and should be ignored by the

20   Court. See Simio, 983 F.3d at 1366 (“A statement that a feature ‘improves the functioning and

21   operations of the computer’ is, by itself, conclusory.”). Once DVS’s conclusory legal allegations

22   about the novelty and inventiveness of the asserted patent are disregarded, there is nothing left to

23   preclude a determination of ineligibility on the pleadings.

24          Accordingly, this issue is ripe for the Court’s consideration, and the ’860 Patent should be

25   found invalid for failing to claim patent-eligible subject matter.

26                                                 15                     Defendant’s Motion to Dismiss
27

28
            Case 2:23-cv-01586-TLN-KJN Document 8 Filed 08/30/23 Page 22 of 22




 1   VII.   CONCLUSION

 2          For the foregoing reasons, SkySlope respectfully requests that the Court dismiss DVS’s

 3   claims based on the ’860 Patent for failure to state a claim upon which relief can be granted.

 4   Because leave to amend would be futile, SkySlope requests dismissal with prejudice.

 5

 6   Dated: August 30, 2023                          Respectfully submitted,

 7

 8                                                   By: /s/ Katherine D. Prescott
                                                         Katherine D. Prescott
 9

10
                                                     ATTORNEYS FOR DEFENDANT
11                                                   SKYSLOPE, INC.

12

13

14

15

16

17
18

19

20

21

22

23

24

25

26                                              16                   Defendant’s Motion to Dismiss
27

28
